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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:20-cv-24621-UU

 VICTOR ARIZA,

        Plaintiff,
 vs.

 SANTI USA CORP. d/b/a LA MARTINA,
 a Florida for-profit corporation, and
 LM EUROPE SA, d/b/a LA MARTINA,
 a foreign for-profit corporation,

        Defendants.
  ___________________________________/

                           PLAINTIFF’S NOTICE OF SETTLEMENT

        Plaintiff VICTOR ARIZA, by and through his undersigned counsel, hereby provides notice

 that the parties have reached a settlement in principle and will be shortly executing all necessary

 paperwork resolving all claims and matters in the case. Accordingly, the parties respectfully request

 that the Court stay all further proceedings for twenty (20) days for the parties to complete the

 settlement paperwork and file a voluntary dismissal with prejudice.

        Dated: January 25, 2021.

        Respectfully submitted,

 RODERICK V. HANNAH, ESQ., P.A.                        LAW OFFICE OF PELAYO
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 By____s/ Roderick V. Hannah __                        By ___s/ Pelayo M. Duran ______
       RODERICK V. HANNAH                                    PELAYO M. DURAN
       Fla. Bar No. 435384                                   Fla. Bar No. 0146595
